                    Case 20-10343-LSS       Doc 142        Filed 03/05/20     Page 1 of 1



                                 UNITED STATES DEPARTMENT OF JUSTICE
                                 OFFICE OF THE UNITED STATES TRUSTEE
                                         DISTRICT OF DELAWARE

IN THE MATTER OF:                                      :         Chapter 11
                                                       :
Boy Scouts of America, et al.,                         :         Case No. 20-10343 (LSS)
                                                       :
                                                       :
                                                       :         NOTICE OF APPOINTMENT OF
          Debtor.                                      :         COMMITTEE - TORT CLAIMANTS
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       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons to
the Committee of Unsecured Creditors in connection with the above captioned cases:


1.                 Robb Lawson

2.                 Robert Grier

3.                 Morgan Wade Paul

4.                 Christopher Desmond Haywood

5.                 Douglas A. Kennedy

6.                 Jorge Tobon

7.                 Jorge Vega

8.                 John Humphrey

9.                 Richard Halvorson




                                               ANDREW R. VARA
                                               United States Trustee, Region 3


                                               /s/ David Buchbinder for
                                               T. PATRICK TINKER
                                               ASSISTANT UNITED STATES TRUSTEE

DATED: March 5, 2020

Attorney assigned to this Case: David Buchbinder, Esq., Phone: (302) 573-6491, Fax: (302) 573-6497
Debtors’ Counsel: Derek Abbott, Esq., Phone: 302 658-9200, Fax: 302-658-3989
